Case 1:08-cv-00827-LMB-JFA Document 1322 Filed 01/27/20 Page 1 of 2 PageID# 37796



                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
  __________________________________________
                                             )
  SUHAIL NAJIM ABDULLAH AL SHIMARI,          )
  et al.,                                    )
                                             )
                    Plaintiffs,              )
                                             )
                    v.                       ) No. 1:08-cv-0827 LMB-JFA
                                             )
  CACI PREMIER TECHNOLOGY, INC.,             )
                                             )
                    Defendant,               )
                                             )

                            DEFENDANT CACI’S STATUS UPDATE

         We are writing to advise the Court of a recent development in connection with the

  petition for writ of certiorari filed by CACI in this action. The United States Supreme Court

  considered CACI’s petition during its conference on January 24, 2020, and issued an order today

  inviting the Solicitor General to file a brief stating the views of the United States on CACI’s

  petition. The first two pages of today’s Orders List are enclosed herewith.

  Respectfully submitted,

  /s/ John F. O’Connor
  John F. O’Connor                                            William D. Dolan, III
  Virginia Bar No. 93004                                      Virginia Bar No. 12455
  Linda C. Bailey (admitted pro hac vice)                     LAW OFFICES OF WILLIAM D.
  Molly Bruder Fox (admitted pro hac vice)                    DOLAN, III, PC
  STEPTOE & JOHNSON LLP                                       8270 Greensboro Drive, Suite 700
  1330 Connecticut Avenue, N.W.                               Tysons Corner, VA 22102
  Washington, D.C. 20036                                      (703) 584-8377 – telephone
  (202) 429-3000 – telephone                                  wdolan@dolanlaw.net
  (202) 429-3902 – facsimile
  joconnor@steptoe.com
  lbailey@steptoe.com
  mbfox@steptoe.com

                                Counsel for Defendant CACI Premier
                                          Technology, Inc.
Case 1:08-cv-00827-LMB-JFA Document 1322 Filed 01/27/20 Page 2 of 2 PageID# 37797



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of January, 2020, I will electronically file the
  foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
  of such filing (NEF) to the following counsel:

                                      John Kenneth Zwerling
                                      The Law Offices of John Kenneth Zwerling, P.C.
                                      114 North Alfred Street
                                      Alexandria, VA 22314
                                      jz@zwerling.com



                                             /s/ John F. O’Connor
                                             John F. O’Connor
                                             Virginia Bar No. 93004
                                             Attorney for Defendant CACI Premier Technology,
                                                 Inc.
                                             STEPTOE & JOHNSON LLP
                                             1330 Connecticut Avenue, N.W.
                                             Washington, D.C. 20036
                                             (202) 429-3000 – telephone
                                             (202) 429-3902 – facsimile
                                             joconnor@steptoe.com
